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                       ACKNOWLEDGMENT OF PLEA AGREEMENT

       I have read this letter and discussed it with my attorney. The letter accurately presents my
agreement with the United States Attorney's Office for the District of Massachusetts. There are
no unwritten agreements between me and the United States Attorney's Office, and no United States
government official has made any unwritten promises or representations to me in connection with
my guilty plea. I have received no prior offers to resolve this case.

       I understand the crimes I am pleading guilty to, and the maximum penalties for those
crimes. I have discussed the Sentencing Guidelines with my lawyer and I understand the
sentencing ranges that may apply.                                    ·1

       I am satisfied with the legal representation my lawyer has given me and we have had
enough time to meet and discuss my case. We have discussed the charges against me, possible
defenses I might have, the terms of this Agreement and whether I should go to trial.

        I am entering into this Agreement freely and voluntarily and because I am in fact guilty of
the offenses. I believe !his Agreement is in my~



                                                  OBERTD.          AIN
                                                 Defendant

                                                 Date:

       I certify that Robert D. Chain has read this Agreemen and that        have discussed what it
means. I believe Robert D. Chain understands the Agreement and is entering into it freely,
voluntarily, and knowingly. I also certify that the U.S. Attorney has not extended any other offers
regarding a change of plea in this case.



                                                 WILLIAM-WIENREB, ESQ.
                                                 MICHAEL PACKARD, ESQ.
                                                 Attorneys for Defendant

                                                 Date:       '1it7(/ 4
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